  Case 1:22-cv-01320-MN Document 18 Filed 02/19/24 Page 1 of 2 PageID #: 93




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 NETWORK-1 TECHNOLOGIES, INC.,

               Plaintiff,

 v.                                               C.A. No. 22-1320-MN

 HONEYWELL INTERNATIONAL INC.,

               Defendant.


                                  JOINT STATUS REPORT

       1.      On May 23, 2023, the Court granted Plaintiff Network-1 Technologies, Inc.

(“Network-1”) and Defendant Honeywell International Inc. (“Honeywell”)’s request to stay this

matter. See D.I. 14.

       2.      In its order, the Court directed the parties to provide an update to the Court within

thirty (30) days after the conclusion of the case captioned Network-1 Technologies, Inc. v. Dahua

Technology USA, Inc., No. 8:22-cv-02087 (C.D. Cal.) (the “Dahua Case”).

       3.      On December 20, 2023, the U.S. District Court for the Central District of California

granted the stipulated dismissal of the Dahua Case based on a settlement agreement between

Dahua and Network-1. Network-1, No. 8:22-cv-02087, D.I. 43.

       4.      In accordance with this Court’s May 23 Order, the parties were to provide their

update to the Court on or before January 19, 2024.

       5.      On January 12, 2024, the Court signed the parties’ Stipulation and [Proposed] Order

Extending the stay to February 19, 2024, to allow the parties additional time to determine the

impact of the conclusion of the Dahua Case.
  Case 1:22-cv-01320-MN Document 18 Filed 02/19/24 Page 2 of 2 PageID #: 94




       6.      The parties were unable to resolve the dispute between them because the parties

could not agree on the impact of the Dahua Case’s conclusion on this case.

       7.      Honeywell is filing an Unopposed Motion to Lift the Stay and the parties have

agreed to a deadline of April 5, 2024, for Honeywell to answer or otherwise plead.



Dated: February 19, 2024


 FARNAN LLP                                     K&L GATES LLP

 /s/Michael J. Farnan                           /s/ Steven L. Caponi
 Brian E. Farnan (No. 4089)                     Steven L. Caponi (No. 3484)
 Michael J. Farnan (No. 5165)                   Matthew B. Goeller (No. 6283)
 919 N. Market St., 12th Floor                  600 N. King Street, Suite 901
 Wilmington, DE 19801                           Wilmington, DE 19801
 Tel: (302) 777-0300                            Phone: (302) 416-7000
 Fax: (302) 777-0301                            steven.caponi@klgates.com
 bfarnan@farnanlaw.com                          matthew.goeller@kglates.com
 mfarnan@farnanlaw.com
                                                Devon C. Beane (pro hac vice)
 Attorneys for Plaintiff                        Nathan J. Fuller (pro hac vice)
                                                Jared R. Lund (pro hac vice)
                                                70 W. Madison Street, Suite 3300
                                                Chicago, IL 60602
                                                Phone: (312) 807-4436
                                                devon.beane@klgates.com
                                                nathan.fuller@klgates.com
                                                jared.lund@klgates.com

                                                Attorneys for Defendant Honeywell
                                                International Inc.




                                               2
